
In re Tuesno, Oscar; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. I, No. 338-479; to the Court of Appeal, Fourth Circuit, No. 2010-K-1176.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172. State v. Gedric, 99-1213 (La.App. 1 Cir. 6/3/99), 741 So.2d 849; Cf. La.C.Cr.P. art. 930.4(D).
